Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 1 of 7 PageID #:1063
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 2 of 7 PageID #:1064
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 3 of 7 PageID #:1065
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 4 of 7 PageID #:1066
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 5 of 7 PageID #:1067
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 6 of 7 PageID #:1068
Case: 1:04-cr-00534 Document #: 243 Filed: 11/07/05 Page 7 of 7 PageID #:1069
